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                                                                        FILED IN CHAMBERS
                                                                            U.S.D.C. Atlanta




                                                                          MAR 1 0 2020
                 IN THE UNITED STATES DISTRICT COURT JAMES N. HATTEN, Clerk
                FOR THE NORTHERN DISTRICT OF GEORGIA By:
                              ATLANTA DIVISION


   UNITED STATES OF AMERICA

         V.                                  Criminal Indictment

   THOMAS ADDAQUAY,                          No.
                                                    •yn—Q
   NANA ADDAQUAY/ AND                               • L. U U .It °B
                                             Under Seal
   SACOYA LYONS


THE GRAND JURY CHARGES THAT:

                                  COUNT ONE
                                 18 U.S.C. § 1349
                       Conspiracy to Commit Wire Fraud


   1. Beginning on a date unknown/ but from at least December 2012 and


continuing until at least in or about July 2016, the exact dates being unknown to


the Grand Jury/ in the Northern District of Georgia and elsewhere/ defendants


THOMAS ADDAQUAY and SACOYA LYONS/ did knowingly and wiUfuUy

combine/ conspire/ confederate/ agree/ and have a tacit understanding with each


other/ and with other persons known and unknown to the Grand Jury/ to devise


and intend to devise a scheme and artifice to defraud, and to obtain money and


property by means of materially false and fraudulent pretenses/ representations,


and promises,! and by omission of material facts, well knowing and having


reason to know that said pretenses, representations/ and promises were and
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would be false and fraudulent when made and caused to made and that said


omissions were and would be material, and in so doing, caused interstate and


foreign wire communications to be made in furtherance of the scheme and


artifice to defraud/ in violation of Title 18, United States Code/ Section 1343.


                                     Background


It is relevant to the conspiracy that:


   2. The Internal Revenue Service (IPS) is an agency of the United States


Department of Treasury responsible for the ascertainment and collection of


revenue, including income tax revenue/ and the disbursement of tax refunds to


taxpayers whose tax payments in a particular year exceed the amount of their


actual tax liability.


   3. JVtost individuals who earn income in the United States are required to file


a federal income tax return with the IRS for the tax year in which the income was


earned.



   4. An IRS form 1040 is what an individual typically files as his or her tax

return. A form 1040 calculates a taxpayer's federal tax liability/ using various


financial and familial information/ including gross income, number of


dependents/ charitable deductions, mortgage interest payments/ and determines
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whether the individual owes any additional federal income tax. If the taxpayer


has overpaid during a given tax year, the taxpayer is entitled to a refund.


   5. The IRS issues tax refunds by either wire transfer directly into the


taxpayer's (or; another identified) bank account or by mailing the taxpayer a


United States Treasury check.


   6. Taxpayers and tax preparers can file income tax returns by mail/ or


electronically over the Internet using a computer. To file electronically/ taxpayers


and tax preparers may obtain software, which is available at retail stores or


online. Tax preparation software also allows taxpayers and tax preparation


businesses access to its website/ via login identification, to prepare and file


income tax returns.


   7. The process of electronically filing a federal income tax return and


receiving a refund involves the transmission of interstate wire communications.


Electronic returns initiated in Georgia by tax preparation companies are


generally transmitted to the IRS outside of the state of Georgia. The IRS sends an


electronic communication to the Financial Management Service/ a bureau of the


United States Department of the Treasury/ which processes the refund payment


and issues the payment from one of its locations outside of Georgia.
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                                Manner and Means


It was part of the conspiracy that:


   8. THOMAS ADDAQUAY filed or caused unidentified conspirators to file

fraudulent federal income returns using stolen personal identifying information/


including names and social security numbers.


   9. THOMAS ADDAQUAY and unidentified conspirators

directed that refunds associated with the fraudulent federal income tax returns


be sent to tax refund processing companies, such as Santa Barbara Tax Products


Group/ Refundo/ EPS Tax/ and Refund Advantage.


   10. THOMAS ADDAQUAY printed or directed unidentified conspirators

to print tax refund checks generated by fraudulent income tax returns and


electronically sent the refund checks to Reliafund, Inc., an electronic payment


processing provider located in Minnesota.


   11. It was further part of the conspiracy that THOMAS ADDAQUAY

engaged Reliafund, Inc. to deposit the fraudulently obtained tax refund checks


into its bank account and to wire the proceeds to bank accounts he controlled.


   12. It was further part of the conspiracy that THOMAS ADDAQUAY

and other conspirators organized companies with the Georgia Secretary of State/


including United Consolidated Accounting and Business Services/ Inc./ United
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Cons Accting and Business Svcs Limited Partnership/ and Delta Atlantic Services


LLC that were used to open business bank accounts in which fraudulently


obtained income tax return refunds were electronically deposited.


   13. It was further part of the conspiracy that THOMAS ADDAQUAY and

SACOYA LYONS and other conspirators received proceeds of the fraudulently

obtained tax refunds.


   14. On or about December 12,2012, THOMAS ADDAQUAY opened a PNC

bank account ending in xl847 in the name of United Consolidated Accounting


and Business Services, Inc. in which fraudulently obtained tax refunds were


electronicaUy deposited.


   15. On or about December 21, 2012, THOMAS ADDAQUAY directed S.W. to

open a J.P. Morgan Chase bank account ending in xl370 in the name of United


Consolidated iAccounting and Business Services/ Inc. in which fraudulently


obtained tax refunds were electronically deposited.


   16. On or about April 16, 2014, THOMAS ADDAQUAY opened a BB&T

bank account ending in x6299 in the name of United Consolidated Accounting


and Busines (sic) in which fraudulently obtained tax refunds were deposited.


THOMAS ADDAQUAY and SACOYA LYONS were both authorized signers on

the bank account.
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   17. On or about February 24,2015, THOMAS ADDAQUAY opened WeUs

Fargo bank accounts ending m x9683 and x9691 in the name of Thomas


Addaquay dba United Consolidates in which fraudulently obtained tax refunds

were deposited.


   18. On or about February 24,2015, THOMAS ADDAQUAY opened a BB&T

bank account ending in x3566 in the name of United Consolidated Accounting


and Busines (sic) in which fraudulently obtained tax refunds were deposited.


THOMAS ADDAQUAY and SACOYA LYONS were both authorized signers on

the bank account.


   19. On or about March 20,2015, THOMAS ADDAQUAY opened a Fifth

Third bank account ending in x9970 in the name of United Consolidated

Accounting and Business Services Inc. in which the proceeds of fraudulently


obtained tax refunds were deposited. THOMAS ADDAQUAY and SACOYA

LYONS were both authorized signers on the bank account.


   20. On or about April 7, 2015, SACOYA LYONS opened a JPMorgan Chase

bank account ending in x7629 in which fraudulently obtained tax refunds were


deposited.


   All in violation of Title 18, United States Code, Section 1349.
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                        COUNTS TWO through ELEVEN
                              18U.S.C.§§1343and2
                                     Wire Fraud


   21. The Grand Jury re-alleges and incorporates by reference paragraphs 2


 through 20 of this Indictment as if fully set forth herein.

   22. On or about the dates set forth below/ in the Northern District of


Georgia and elsewhere/ defendants THOMAS ADDAQUAY and SACOYA

LYONS/ aided and abetted by each other and others known and unknown to the


Grand Jury/ for the purpose of executing and attempting to execute the scheme


and artifice to I defraud described in Count One/ and for obtaining money and


property by means of materially false and fraudulent pretenses/ representations,


and promises, as well as by omissions of material fact/ knowing and having


reason to know that the pretenses, representations/ promises/ and omissions


were and would be material/ with intent to defraud, did cause the following wire


communications to be transmitted in interstate commerce:



COUNT         DATE            DESCRIPTION OF WIRE COMMUNICATION
  2         3/11/2015      Wire transfer in the amount of $53/012.14 from
                           Reliafund Inc. to United Consolidated Accounting
                           and Business's BB&T Bank Account ending in x3566
    3       3/13/2015      Wire transfer in the amount of $34,532.30 from
                           Reliafund Inc. to United Consolidated Accounting
                           and Business's BB&T Bank Account ending in x3566



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     4         3/16/2015     Wire transfer in the amount of $26,961.00 from
                             Reliafund Inc. to United Consolidated Accounting
                             and Business/s BB&T Bank Account ending in x3566
     5         3/17/2015     Wire transfer in the amount of $17,619.35 from
                             Reliafund Inc. to United Consolidated Accounting
                             and Business s BB&T Bank Account ending in x3566
     6         3/17/2015     Wire communication associated with the deposit of
                             fraudulent tax refund check into J.P. Morgan Chase
                             Bank Account ending in x9756
     7         3/19/2015     Wire transfer in the amount of $18/213.30 from
                             Reliafund Inc. to United Consolidated Accounting
                             and Business s BB&T Bank Account ending in x3566
     8         3/20/2015     Electronic filing of tax return for J.H. for tax year 2014
     9         3/20/2015     Electronic filing of tax return for R.M. for tax year
                             2014
    10         3^20/2015     Electronic filing of tax return for T.S. for tax year 2014
    11         3/30/2015     Electronic filing of tax return for E.B. and G.B. for tax
                             year 2014


         All in violation of Title 18, United States Code/ Section 1343 and Section 2.

                        COUNTS TWELVE through SDCTEEN
                           18 U.S.C. §§ 1028A(a)(l) and 2
                               Aggravated Identity Theft


   23. The Grand Jury re-alleges and incorporates by reference paragraphs 2


through 20 of this Indictment as if fully set forth herein.

   24. On or about the dates listed below/ in the Northern District of Georgia and


elsewhere, defendants THOMAS ADDAQUAY and SACOYA LYONS, aided

and abetted by each other and others known and unknown to the Grand Jury/


did knowingly transfer, possess/ and use, without lawful authority, the means of

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identification :of other persons/ including the names and social security numbers


of actual persons known to the Grand Jury and identified below by their initials/

during and in| relation to the federal felony of conspiracy to commit wire fraud/


as set forth in iCount One of this Indictment:


   Count       Date       Initials of Actual Person            Means of Identification
                          Whose Identity v\ras Used

     12      3/17/2015               D.S.                      Name and Social Security
                                                                       Number

     13      3/20/2015                J.H.                     Name and Social Security
                                                                       Number
     14      3/20/2015               R.M.                      Name and Social Security
                                                                       Number
     15      3/20/2015                T.S.                     Name and Social Security
                                                                       Number
     16      3/30/2015                G.B.                     Name and Social Security
                                                                       Number

      All in violation of Title 18, United States Code/ Section 1028A(a)(l) and

Section 2.


                                 COUNT SEVENTEEN
                                   18 U.S.C. §1956(h)
                            Money Laundering Conspiracy


   25. The Grand Jury re-alleges and incorporates by reference paragraphs 2


through 20 of |this Indictment as if fully set forth herein.

   26. Beginning on a date unknown/ but from. at least December 2012 and
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continuing until at least in or about September 2016, the exact dates being


unknown to the Grand Jury, in the Northern District of Georgia and elsewhere/


defendants THOMAS ADDAQUAY/ NANA ADDAQUAY/ and SACOYA

LYONS did knowingly combine^ conspire, agree/ and have a tacit understanding


with each other and others known and unknown to the Grand Jury to commit an


offense against the United States/ that is, to knowingly engage and attempt to


engage in monetary transactions by/ through, and to a financial institution/


affecting interstate commerce/ knowing that said transactions involved


criminally derived property of a value greater than $10/000, such property


having been derived from a specified unlawful activity, that is, conspiracy to


commit wire fraud/ in violation of Title 18, United States Code/ Section 1349; in


violation of Title 18, United States Code, Section 1957.

      All in violation of Title 18, United States Code/ Section 1956(h).



                 COUNTS EIGHTEEN through TlVENTy-NINE
                               18 U.S.C. §§1957 and 2
                                 Money Laundering


   27. The Grand Jury re-alleges and incorporates by reference paragraphs 2


through 20 of this Indictment as if fully set forth herein.

   28. On or about the dates listed below/ in the Northern District of Georgia and



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      elsewhere, the defendants, THOMAS ADDAQUAY and NANA ADDAQUAY/

      aided and abetted by each other and others unknown to the Grand Jury/ did


      knowingly engage and attempt to engage in monetary transactions by/ through,


      and to a financial institution, affecting interstate commerce/ as described below,


      each such transaction knowingly involving crimmaUy derived property of a


      value greater than $10,000, such property having been derived from. a specified


      unlawful activity, that is, conspiracy to commit wire fraud, in violation of Title


      18, United States Code/ Section 1349, each transaction constituting a separate


      count as set forth below:


Count        Date           Defendant (s)                    Monetary Transaction

 18       3/17/2015    Thomas Addaquay           Check in the amount of $14,000.00 drawn on
                       and Nana Addaquay         BB&T Bank account ending in x3566

 19       3/18/2015    Thomas Addaquay           Check in the amount of $13,500.00 drawn on
                       and Nana Addaquay         BB&T Bank account ending in x3566

 20       3/20/2015    Thomas Addaquay           Check in the amount of $22,111.40 drawn on
                       and Nana Addaquay         Wells Fargo Bank account ending in x9683

 21       3/24/2015 Thomas Addaquay              Check in the amount of $25,647.80 drawn on
                       and Nana Addaquay         WeUs Fargo Bank account ending in x9683

 22       3/25/2015    Thomas Addaquay           Check in the amount of $12/000.00 drawn on
                       and Nana Addaquay         WeUs Fargo Bank account ending in x9683

 23       3/27/2015    Thomas Addaquay           Check in the amount of $20/000.00 drawn on
                       and Nana Addaquay         Wells Fargo Bank account ending in x9683




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24        3/30/201^    Thomas Addaquay          Check in the amount of $24,000.00 drawn on
                       and Nana Addaquay        Wells Fargo Bank account ending in x9683

25       4/16/20K      Thomas Addaquay          Check in the amount of $13,000.00 drawn on
                       and Nana Addaquay        WeUs Fargo Bank account ending in x9683

26       4/23/2015     Thomas Addaquay          Wire transfer in the amount of $60,320.00
                                                payable to Tesla Motors
27       4/25/2015     Thomas Addaquay          Check in the amount of $30,300.00 drawn on
                       and Nana Addaquay        Fifth Third Bank account ending in x9970

28        1/7/2016    Thomas Addaquay           Withdrawal of $19,020.00 from Wells Fargo
                                                bank account ending in x9683

29        1/7/2016    Thomas Addaquay           Check in the amount of $15,000.00 drawn on
                                                WeUs Fargo Bank Account ending in x9683



     AU in violation of Title 18, United States Code, Section 1957 and Section 2.

                                      Forfeihure Provision


        29. Upon conviction of one or more of the offenses aUeged in Counts One


     through Eleven of this Indictment, defendants THOMAS ADDAQUAY and

     SACOYA LYONS shall forfeit to the United States, pursuant to Title 18, United


     States Code/ Section 982(a)(2), aU property constituting/ or derived from,

     proceeds obtained directly or indirectly, as a result of said violations, including/


     but not limited to/ the following:

           MONEY JUDGMENT: A sum of money in United States currency/

           representing the amount of proceeds obtained as a result of the offenses


           aUeged m Counts One through Eleven of this Indictment.

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   30. Upon conviction of one or more of the offenses alleged in Counts


Seventeen through Twenty-Nine of this Indictment, the defendants/ THOMAS


ADDAQUAY, NANA ADDAQUAY/ and SACOYA LYONS, shaU forfeit to the

United States/i pursuant to Title 18, United States Code/ Section 982(a)(l)/ all

property/ real; and personal, involved in such offenses, and aU property traceable


to such property, including, but not limited to, the following:


       MONEY JUDGMENT: A sum of money in United States currency/

      representing the amount of proceeds obtained as a result of the offenses


       alleged an Counts Seventeen through Twenty-Nine of this Indictment.


   31. If, as a result of any act or omission of the defendants, any property


subject to forfeiture:


      a. cannot be located upon the exercise of due diligence;


      b. has been transferred or sold to, or deposited with/ a third party;


      c. has been placed beyond the jurisdiction of the Court;


      d. has been substantially diminished in value; or


      e. has been conuningled with other property which cannot be divided


      without difficulty;




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the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Tide 18, United States Code, Section 982(b)(l) and

Title 28, United States Code/ Section 2461 (c)/ to seek forfeiture of any other

property of the defendants up to the value of the forfeitable property.


                                           A y^/-^                                BILL


                                                                      ^^<
                                                      FOREPERSON ^)
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